KAUFMAN|DOLOWICH

Date Filed: 03/21/2025

Page: 1

Document: 7

Case: 25-8002

Kaufman Dolowich LLP

Court Plaza North

25 Main Street, Suite 500
Hackensack, New Jersey 07601-7086

Christopher Nucifora, Esq.
Managing Partner Telephone: 201.488.6655

Direct: (201) 708-8207 Facsimile: 201.488.6652

Email: cnucifora@kaufmandolowich.com .
www.kaufmandolowich.com

March 21, 2025

VIA E-FILING ONLY

Office of the Clerk

United States Court of Appeals for the Third Circuit
21400 U.S. Courthouse

601 Market Street

Philadelphia, PA 19106-1790

Re: Atlas Data Privacy Corp., et al. v. Spy Dialer, Inc, et al.
Civil Action No. 1:24-cv-11023 (HB)
Third Circuit Case No. 25-8002

Dear Sir or Madam:

We represent Defendant-Petitioner, Spy Dialer, Inc. (‘Petitioner’), in the above-referenced
matter. In accordance with the Order and Notice entered by the Court on March 18, 2025 granting
Petitioner’s Petition for Permission to Appeal (Document 6-11 and 6-2), we write to confirm that,
today, Petitioner paid the required filing fee of $605.00 to the United States District Court for the
District of New Jersey. Enclosed for the Court’s convenience please find a receipt for the payment.

As always, we thank the Court for its kind attention to this matter.

Respectfully submitted,
Kanfman Dolowich LLP

CHRISTOPHER NUCIFORA, ESQ.
TIMOTHY M. ORTOLANT, ESQ.

CN/tmo

Enclosure

NY|NJ[CT|PA|FLJIL| LA| TX| CA
Date Filed: 03/21/2025

Page: 2

Document: 7

Case: 25-8002

Generated: Mar 21, 2025 12:05PM

U.S. District Court

New Jersey District - Trenton

THIS IS A COPY

Page 1/1

Receipt Date: Mar 21, 2025 12:00PM

CHRISTOPHER NUCIFORA
135 CROSSWAYS PARK DRIVE
SUITE 201

WOODBURY, NY 11797

Rcpt. No: 143192 Trans. Date: Mar 21, 2025 12:00PM Cashier ID: #SS (3245)
cD Purpose Case/Party/Defendant Qty Price Amt
oe noes “ vo cree ee sovareinvrvce tavaversuseqesbasenavsnananncevenseueunniety saveasene : satisaseneweadedueveces oes disuneseewarens ve
cD Tender Amt
ore nn anprarianicateanugevenens eseuss resuensutesene sesauneesysnss tenner sn usy aibndnnneenveesevecscuneseuenesusesaseesccenvevecuvarcnvesseneneeanee cosa
Total Due Prior to Payment: ee en

settee ee eo

Comments: ATLAS APPEAL; 1:24-cv-11023-HB ATLAS DATA PRIVACY CORPORATION v. SPY DIALER, INC.

Only when the bank clears the check, money order, or verifies credit of funds, is the fee or debt officially paid or discharged. A $53 fee

will be charged for a returned check.
